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                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:15-cr-0047
                                    )
v.                                  )                 Honorable Paul L. Maloney
                                    )
SILA SISHAY GREEN,                  )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on November 4 2015, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Sila Sishay Green entered a plea of guilty to Count 1 of the Superseding

Indictment in exchange for the undertakings made by the government in the written plea agreement.

In Count 1 of the Superseding Indictment, defendant is charged with conspiracy to possess with

intent to distribute cocaine base in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C). On

the basis of the record made at the hearing, I find that defendant is fully capable and competent to

enter an informed plea; that the plea is made knowingly and with full understanding of each of the

rights waived by defendant; that it is made voluntarily and free from any force, threats, or promises,

apart from the promises in the plea agreement; that the defendant understands the nature of the

charge and penalties provided by law; and that the plea has a sufficient basis in fact.
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       Accordingly, I recommend that defendant's plea of guilty to Count 1 of the Superseding

Indictment be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Date: November 4, 2015                                 /s/ Phillip J. Green
                                                      PHILLIP J. GREEN
                                                      United States Magistrate Judge




                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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